               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                        CR-13-36-GF-BMM-01

                Plaintiff,

       vs.
                                                         ORDER
C’ERRA DAWN CLARK,

                Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on February 14, 2018. (Doc. 123.) Neither party

filed objections. When a party makes no objections, the Court need not review de

novo the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140,

153-52 (1986). This Court will review Judge Johnston’s Findings and




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Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a final revocation hearing on February 13, 2018.

(Doc. 122.) Clark admitted that she violated the conditions of her supervised

release. (Doc. 123 at 1.) Clark violated the conditions of her supervised release by

1) consuming alcohol; 2) failing to participate in a program for mental health

treatment; 3) failing to report for substance abuse testing on August 17, 28, and 31,

2017; 4) failing to report for substance abuse treatment on August 17 and 24, 2017,

and September 7, 2017; (5) failing to live at a place approved by her probation

officer; (6) failing to follow instructions of her probation officer; and (7) using a

controlled substance. Id.

      Judge Johnston has recommended that the Court revoke Clark’s supervised

release. Id. at 5. Further, Judge Johnston has recommended Clark should be

sentenced to twelve months and one day, followed by no term of supervised

release. Id. at 6. The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Clark’s violations of her conditions represent a serious breach

of the Court’s trust. A sentence of twelve months and one day incarceration,

followed by no term of supervised release, represents a sufficient, but not greater

than necessary sentence.




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      Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 123) are ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant C’erra Dawn Clark be

sentenced to twelve months and one day incarceration, followed by no term of

supervised release.

      DATED this 28th day of February, 2018.




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